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7
8                        UNITED STATES DISTRICT COURT
9
                       CENTRAL DISTRICT OF CALIFORNIA
10
                        WESTERN DIVISION – LOS ANGELES
11
12   GRANT MCKEE, TAYLOR FISSE,                  Case No. 2:17-cv-01941 GW (EX)
13   BRYAN REES, ERIC WEBER, and
     MICHAEL ROGAWSKI, individually
14   and on behalf of all others similarly       PLAINTIFF ERIC WEBER’S
15   situated,                                   DECLARATION IN SUPPORT OF
                                                 HIS SURREPLY IN OPPOSITION TO
16              Plaintiffs,                      DEFENDANT’S MOTION TO
17                                               COMPEL ARBITRATION AND
     v.
                                                 DISMISS CLAIMS
18   AUDIBLE, INC.,
                                                 Date:         April 2, 2018
19                                               Time:         8:30 a.m.
                Defendant.
20                                               Courtroom:    9D
                                                 Judge:        Hon. George H. Wu
21                                               Trial Date:   None Set
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                                    WEBER DECLARATION
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 1                            DECLARATION OF ERIC WEBER
 2         I, Eric Weber, declare as follows:
 3         1.     I am an individual over 18 years old. I currently reside in California. I am a
 4 Plaintiff in this case. The facts set forth in this Declaration are based upon my own
 5 personal knowledge and, if called as a witness, I could and would competently testify to
 6 the facts set forth herein.
 7         2.     I believe I signed up for an Amazon account in or around early 2011. The
 8 current homepage of my Amazon account identifies me as a “Customer Since 2011.” See
 9 Exhibit 1. I have been told that Amazon has records showing I have two accounts,
10 including a merchant account. I do not know why I would have two accounts or a
11 merchant account. I have used the same email address for many years, and I have never
12 been a merchant on Amazon.com. To the best of my recollection and by looking at my
13 past purchases, I believe I started using my Amazon account to make purchases in or
14 around February 2011. I cannot be certain of the exact dates. I understand and
15 acknowledge that when I created my Amazon account and started making purchases on
16 Amazon.com in or around early 2011, I agreed to certain contract terms. My
17 understanding is that the contract terms I agreed to did not include any mandatory
18 arbitration clause or class action or jury trial waivers.
19         3.     After I signed up for my Amazon account and started making purchases on
20 Amazon.com, I never received any emailed, mailed, or other type of notice telling me
21 that the contract terms I agreed to had been modified or sending me a link or copy of such
22 terms. I have occasionally seen a “conditions of use” hyperlink in different places on
23 Amazon.com. As far as I know, the hyperlink represented the same contract terms I
24 originally agreed to when I signed up in or around early 2011. I have never been asked
25 or required to review and agree to any modified contract terms, and I did not know that
26 Amazon has periodically and unilaterally modified the contract terms I agreed to. I have
27 never seen or agreed to any contract terms that required me to arbitrate any claims I had
28 in the past, currently have, or may have in the future against Amazon.

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                                         WEBER DECLARATION
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 1         4.    I make many, but not all, of my purchases on Amazon.com using my
 2 smartphone. I believe I usually click a “Place your order” or similar button when I make
 3 a purchase on Amazon.com, but I cannot be sure whether the “Place your order” buttons
 4 I have pressed have an Amazon “conditions of use” hyperlink next to them.
 5         5.    I did not intentionally sign up for a new Amazon Prime membership on
 6 October 26, 2017. For years I have been able to use shared free shipping services through
 7 my sister’s household Amazon Prime membership. I am not sure why one of my payment
 8 methods (I believe it would be a debit card) was changed on October 26, 2017 for a new
 9 Amazon Prime membership because I did not need a new membership and I did not
10 intentionally visit an Amazon Prime membership sign up webpage and complete a sign
11 up process for a new annual membership I did not need. If I did unintentionally sign up
12 for a new Amazon Prime membership, it probably would have been on September 26,
13 2017 when I believe I made a purchase and would have wanted free shipping. I definitely
14 did not visit Amazon.com specifically to sign up for a new Amazon Prime membership.
15 If some part of a purchase I made on Amazon.com did cause me to visit an Amazon
16 Prime sign up webpage, I would have clicked the button and I would not have scrolled
17 below the button unless the website asked or required me to do so. I did not see any
18 disclosure of any “Amazon Prime Terms” on any Amazon.com webpage I visited in
19 September or October 2017 (or at any other time to the best of my recollection).
20         6.    I have been a California resident for many years and was a California
21 resident when I signed up for Amazon in or around early 2011. Most of the times I have
22 visited or made purchases on Amazon.com I was in California. I did not intentionally
23 direct any activities on Amazon.com to the state of Washington or any other place; I
24 believed I was simply making an online purchase in California that would be delivered
25 to me in California.
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                                      WEBER DECLARATION
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                                  WEBER DECLARATION
